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Counsel for Plaintiff MICHAEL GRECCO
PRODUCTIONS, INC.


UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

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                                                      :
MICHAEL GRECCO PRODUCTIONS, INC.,                     :   No. 1:18-cv-2232
                                                      :
                      Plaintiff,                      :   COMPLAINT FOR COPYRIGHT
                                                      :   INFRINGEMENT
v.                                                    :
                                                      :
BUZZFEED, INC.,                                       :
                                                      :
                      Defendant.                      :
                                                      :   JURY TRIAL DEMANDED
                                                      :
-----------------------------------                   x

       Michael Grecco Productions, Inc. (“MGP”), for its complaint against Buzzfeed, Inc.,

alleges as follows:

                                       INTRODUCTION

       1.      This is an action for copyright infringement involving the large-scale

unauthorized use of photographic images by a major Internet media company well-known for

everything from breaking news and investigative journalism, to quizzes, photo series, and

listicles. For years, Defendant BuzzFeed, Inc. used plaintiff’s copyrighted images, without

license, to draw viewers to its pages, thereby increasing its native-advertising-based income.




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       2.      Michael Grecco is a commercial photographer and film director noted for his

iconic celebrity portraits, innovative magazine covers, editorial images and advertising spreads

for high profile companies like Fox, NBC/Universal, GE, Pfizer, HBO, Kodak, IBM, Yahoo!,

ESPN, Wired, Time, Entertainment Weekly, Esquire, Premier and MAXIM. His work is

regularly featured in prestigious venues, including the Louis Stern, G. Ray Hawkins, Stephen

Cohen and Fahey Klein galleries.

       3.      MGP owns Grecco’s intellectual property. Grecco, operating through his

company MGP, meticulously protects his intellectual property against infringement both within

the United States and throughout the rest of the world. MGP’s vigilance uncovered the large-

scale infringements by BuzzFeed, and MGP now sues to put an end to it.

                    NATURE OF THE ACTION AND RELIEF SOUGHT

       4.      This is an action for copyright infringement and related claims brought against

defendant for unauthorized and infringing uses of plaintiff’s photographs.

       5.      Plaintiff seeks damages and other relief related to defendant’s knowing and

willful infringement of plaintiff’s copyrights in the original works identified below.

                                            PARTIES

       6.      MGP is a photography studio and agency that Grecco owns and operates. MGP

owns the copyright to images created by Grecco and licenses those images to third parties on his

behalf. MGP is a corporation organized and existing under the laws of the State of California

with its principal place of business in Santa Monica, California.

       7.      MGP was formerly known as Michael Grecco Photography, Inc.

       8.      MGP licenses photographs for use and distribution throughout the United States,

including New York, and the world.




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        9.      On information and belief, defendant BuzzFeed, Inc. is a corporation organized

and existing under the laws of the State of Delaware with its principal place of business in New

York, New York. According to its website, “BuzzFeed is the leading independent digital media

company delivering news and entertainment to hundreds of millions of people around the

world.”

                                 JURISDICTION AND VENUE

        10.     This is an action for copyright infringement arising under the Copyright Act, 17

U.S.C. § 101 et seq.

        11.     The Court has subject-matter jurisdiction over plaintiff’s claims under 28 U.S.C.

§ 1331 and § 1338(a).

        12.     Defendant is subject to the personal jurisdiction of this Court because defendant

has its principal place of business in New York, New York, in this judicial district.

                                    BACKGROUND FACTS

A.      The Infringed Images

        13.     Grecco is the original author and creator of each of the following photographic

images (collectively, the “Infringed Images”), the copyrights of which are owned and controlled

by plaintiff MGP:

        14.     Morgan Freeman Image

     a. The Morgan Freeman Image is a photograph of award-

        winning actor, producer, and film narrator Morgan Freeman.

     b. The Morgan Freeman Image was registered with the United

          States Copyright Office as Registration VAu 630-623 (eff.

          May 28, 2017), in compliance with the Copyright Act.




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         15.    Gary Hart Image

                                               a. The Gary Hart Image is a photograph of

                                           American politician, diplomat, and lawyer Gary Hart,

                                           the former Colorado Senator and Presidential

                                           candidate.

                                               b. The Gary Hart Image was registered with the

         United States Copyright Office as Registration VA 1-431-698 (eff. July 7, 2010), in

         compliance with the Copyright Act.

         16.    Johnny Depp Image

  a. The Johnny Depp Image is a photograph of well-known

        American actor, producer, and musician Johnny Depp.

      b. The Johnny Depp Image was registered with the United

         States Copyright Office as Registration VA 1-736-729

         (eff. July 7, 2010), in compliance with the Copyright Act.

17.      Evan Spiegel Image

                                   a. The Evan Spiegel Image is a photograph of American

                               Internet entrepreneur Evan Spiegel, who is the co-founder and

                               Chief Executive Officer of multinational technology and social-

                               media company Snap Inc., which counts the Snapchat app among

                               its product offerings.

                                   b. The Evan Spiegel Image was registered with the United

                               States Copyright Office as Registration VAu 1-161-074 (eff.

                               December 22, 2013), in compliance with the Copyright Act.




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18.    Joaquin Phoenix Images

       a. The Joaquin Phoenix Images are photographs of well-known American actor,

          producer, music-video director, musician, and activist Joaquin Phoenix.

                          b.        Joaquin Phoenix Image 1, depicting the actor against a

                  blue-sky background, was registered with the United States Copyright

                  Office as Registration VAu 584-798 (eff. April 26, 2002), in

                  compliance with the Copyright Act.

       c. Joaquin Phoenix Image 2, depicting the actor smiling

          against a blue-sky background. was also registered with

          the United States Copyright Office as Registration

          VAu 584-798.

                               d.        Joaquin Phoenix Image 3, depicting the actor in a

                       yellow chair against a red background, was also registered with

                       the United States Copyright Office as Registration VAu 584-798.


       e. Joaquin Phoenix Image 4, depicting the actor in a red shirt

          against a red background, was also registered with the

          United States Copyright Office as Registration

          VAu 584-798.

                               f.        Joaquin Phoenix Image 5, depicting the actor

                       sitting in on a green bench in a green room, was also registered

                       with the United States Copyright Office as Registration

                       VAu 584-798.




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       g. Joaquin Phoenix Image 6, depicting a head-shot of the

          actor against a red background, was also registered

          with the United States Copyright Office as

          Registration VAu 584-798.

19.    X-Files Images

       a. The X-Files Images are promotional still photographs featuring actors Gillian

          Anderson and David Duchovny as agents Dana Scully and Fox Mulder from

          the popular television program “The X Files.”

       b. X-Files Image 1, depicting agents Scully and Mulder

          standing against a sky-blue background, was registered

          with the United States Copyright Office as Registration

          VA 2-030-741 (eff. January 23, 2017), in compliance with

          the Copyright Act.

                                   c. X-Files Image 2, depicting agents Mulder,

                                holding a flashlight, and Scully against a grey cement

                                background, was registered with the United States

                                Copyright Office as Registration VA 1-232-596 (eff.

                                April 8, 2003), in compliance with the Copyright Act.

       d. X-Files Image 3, depicting agents Scully and Mulder

          against a purple background, was registered with the

          United States Copyright Office as Registration VA 1-

          431-698 (eff. July 7, 2010), in compliance with the

          Copyright Act.




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                e. X-Files Image 4, depicting agents Scully and

                     Mulder against a hexagonal-patterned blue

                     background, was registered with the United

                     States Copyright Office as Registration

                     VA 1-825-822 (eff. May 31, 2012), in

                     compliance with the Copyright Act.

                                                 f. X-Files Image 5, depicting agents Scully and

                                             Mulder standing against a brown background, was

                                             registered with the United States Copyright Office as

                                             Registration VA 2-063-319 (eff. July 27, 2017), in

                                             compliance with the Copyright Act.

        20.     Each of the Infringed Images is an original work of authorship fixed in a tangible

medium of expression from which it can be perceived, reproduced, displayed, or otherwise

communicated, either directly or with the aid of a machine or device.

        21.     Each of the Infringed Images is a separate and independent work of authorship in

the form of a photographic image that comprises copyrightable subject matter protectable under

the Copyright Act.

B.      BuzzFeed’s Unauthorized Uses

        22.     BuzzFeed owns and operates the website located and accessible at

www.buzzfeed.com. According to some estimates, buzzfeed.com is ranked as the 66th most

popular website in the United States, and the 190th most popular in the world, generating some

84.0 million unique visitors per month in the U.S. alone, and over 172 million unique monthly

visitors globally.




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       23.     BuzzFeed is a commercial endeavor, as its website features third-party

advertisements by prominent business entities offering products and services, such as Intuit,

Accenture, AstraZeneca, and others. On information and belief, the website also features articles

that are sponsored or promoted by brands such as Quicken Loans, Skittles, Band-Aid, Toyota,

Bank of America, Boost Mobile, and GEICO, as well as by movie studios.

       24.     On information and belief, all of BuzzFeed’s revenue is ad-based, including

native advertising placement and sponsored posts. Accordingly, BuzzFeed earns more income

when the number of viewers who see its web pages increases. BuzzFeed has the incentive to

draw more viewers to its website by featuring content that is visually interesting.

       25.     Plaintiff never licensed the Infringed Images to BuzzFeed. Instead, BuzzFeed has

used, and continues to use, the Infringed Images on the buzzfeed.com website by prominently

featuring the Infringed Images to promote articles and content and drive viewership.

       26.     BuzzFeed copied and displayed the Morgan Freeman Image at least once, in

May 2013.

               a. The Morgan Freeman Image was featured in an article entitled The 10 Most

                   Annoyingly Ambiguous Facebook Status Updates…as Told by Morgan

                   Freeman, which was posted on the BuzzFeed Community page by an

                   individual identified as “WhittyGolden, Community Contributor.”

               b. On information and belief, BuzzFeed had the ability, and did in fact exercise

                   the ability, to control the content appearing on the BuzzFeed Community

                   page, including the Morgan Freeman article.




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                c. On information and belief, the Morgan Freeman article was created by

                   “WhittyGolden” and “suggested” to BuzzFeed’s editors, who then promoted

                   the post to be featured on the BuzzFeed Community page.

       27.      BuzzFeed copied and displayed the Gary Hart Image at least once, in

November 2013. The Gary Hart Image was featured in an article entitled 21 Ways To Be The

Worst Politician In The World, which was posted by Benny Johnson, who is identified as

BuzzFeed Staff.

       28.      BuzzFeed copied and displayed the Johnny Depp Image at least once, in

October 2013.

                a. The Johnny Depp Image was featured in an article entitled The Official List of

                   Hollywood Men Who Actually Look Hotter Clean Shaven, which was posted

                   on the BuzzFeed Community page by an individual identified as

                   “stephanieg35, Community Contributor.”

                b. On information and belief, BuzzFeed had the ability, and did in fact exercise

                   the ability, to control the content appearing on the BuzzFeed Community

                   page, including the Clean Shaven article.

                c. On information and belief, the Clean Shaven article was created by

                   “stephanieg35” and “suggested” to BuzzFeed’s editors, who then promoted

                   the post to be featured on the BuzzFeed Community page.

       29.      BuzzFeed copied and displayed the Evan Spiegel Image at least twice, in

June 2014. The Evan Spiegel Image was featured in an article entitled 16 Things All 29-Year-

Olds Know To Be True, which was published on buzzfeed.com in an English version and a

Portuguese version. The article was posted by Leonora Epstein, identified as BuzzFeed Staff.




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       30.     BuzzFeed copied and displayed all six of the Joaquin Phoenix Images at least

once, in February 2013.

               a. The Joaquin Phoenix Images were featured in an article entitled Joaquin

                  Phoenix Thrives At Photoshoots, which was posted on the BuzzFeed

                  Community page by an individual identified as “emmadana, Community

                  Contributor.”

               b. On information and belief, BuzzFeed had the ability, and did in fact exercise

                  the ability, to control the content appearing on the BuzzFeed Community

                  page, including the Joaquin Phoenix article.

               c. On information and belief, the Joaquin Phoenix article was created by

                  “emmadana” and “suggested” to BuzzFeed’s editors, who then promoted the

                  post to be featured on the BuzzFeed Community page.

       31.     BuzzFeed copied and displayed X-Files Image 1 at least four times, in April 2015,

April 2016, and June 2016.

               a. X-Files Image 1 was featured in an article entitled How Many of These Shows

                  On Netflix Have You Seen?, which was published in April 2015 on the

                  BuzzFeed Community page by someone known as Ellie Bate, who is

                  identified as a “Community Contributor.” On information and belief,

                  BuzzFeed had the ability, and did in fact exercise the ability, to control the

                  content appearing on the BuzzFeed Community page, including the Netflix

                  article. On information and belief, the Netflix article was created by “Ellie

                  Bate” and “suggested” to BuzzFeed’s editors, who then promoted the post to

                  be featured on the BuzzFeed Community page.




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               b. In April 2016, X-Files Image 1 was featured in an article entitled 13 Shows to

                  Binge-Watch With The Ravenclaw In Your Life, which was posted by Alanna

                  Bennett, who is identified as BuzzFeed Staff.

               c. X-Files Image 1 was featured in an article entitled Which Hell Chat Member

                  Are You?,” which was published in January 2016 on the BuzzFeed

                  Community page by someone known as “necctarines,” who is identified as a

                  “Community Contributor.” On information and belief, BuzzFeed had the

                  ability, and did in fact exercise the ability, to control the content appearing on

                  the BuzzFeed Community page, including the Hell Chat article. On

                  information and belief, the Hell Chat article was created by “necctarines” and

                  “suggested” to BuzzFeed’s editors, who then promoted the post to be featured

                  on the BuzzFeed Community page.

               d. X-Files Image 1 was featured in an article entitled 17 titulos de series que

                  Portugal transformou em alguma coisa dora, which was published in

                  November 2016. The author of the article was Juliana Katoaka, identified as

                  “Equipe BuzzFeed [translation: Team BuzzFeed], Brasil.”

       32.     BuzzFeed copied and displayed X-Files Image 2 at least six times: in April, June,

and July 2013; in September 2014; and in March and September 2015.

               a. X-Files Image 2 was featured in an article entitled 35 People You Probably

                  Fancied In The ‘90s, which was published to the BuzzFeed Community page

                  in April 2013 by a Sam Parker, identified as a BuzzFeed Contributor. On

                  information and belief, at the time of publication, Sam Parker was a features

                  editor of BuzzFeed.




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               b. In June 2013, X-Files Image 2 was featured in an article entitled 25 TV Shows

                  You Have To Watch From The Beginning, which was posted by Erin La Rosa,

                  identified as BuzzFeed Staff.

               c. In July 2013, X-Files Image 2 was featured in an article entitled 17 Things

                  That Need To Happen At Comic-Con This Year, which was posted by Adam

                  B. Vary, identified as BuzzFeed News Reporter.

               d. In September 2014, X-Files Image 2 was featured in an article entitled Which

                  Porn Parody Must You Absolutely Watch?, which was posted by Norberto

                  Briceño, identified as BuzzFeed Staff.

               e. In March 2015, X-Files Image 2 was featured in an article entitled “‘The X-

                  Files’” Is Coming Back To TV With Gillian Anderson And David Duchovny,

                  which was posted by Emily Orley, identified as a BuzzFeed News Reporter.

               f. In August 2015, X-Files Image 2 was featured in an article entitled Which Fall

                  TV Show Should You Get Hooked On?, which was posted by a user known as

                  “Hulu, Brand Publisher.” On information and belief, the Hooked On article

                  was a sponsored post by Hulu.

       33.     BuzzFeed copied and displayed X-Files Images 3 and 4 at lease once, in

July 2013.

               a. X-Files Images 3 and 4 were featured in an article entitled Mulder and Scully

                  Are Getting Hotter, FYI, which was posted on the BuzzFeed Community page

                  by someone known as “ChristmasElf” (and alternatively as “Robbie Crouch”),

                  identified as a Community Contributor.”




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               b. On information and belief, BuzzFeed had the ability, and did in fact exercise

                  the ability, to control the content appearing on the BuzzFeed Community

                  page, including the Getting Hotter article.

               c. On information and belief, the Getting Hotter article was created by

                  “ChristmasElf” and “suggested” to BuzzFeed’s editors, who then promoted

                  the post to be featured on the BuzzFeed Community page.

       34.     BuzzFeed copied and displayed X-File Image 5 at least once, in November 2014.

X-Files Image 5 was featured in an article entitled 42 Utterly Perfect Gifts For The Binge-

Watcher. The article was posted by Mallory McInnis, identified as BuzzFeed Staff.

       35.     MGP notified BuzzFeed of some of these infringements in August 2017, yet as of

the time this complaint was filed, BuzzFeed continued to display some of the images.

       36.     MGP discovered these infringements within the past three years, and/or the

infringements have continued to occur during the past three years.

C.     Facts That Support A Finding of Willful Infringement

       37.     BuzzFeed is aware of the importance of copyright protection. This is

demonstrated on BuzzFeed’s website itself, which contains a copyright notice, © BuzzFeed, Inc.,

for example as shown below:




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       38.     BuzzFeed’s awareness of the important of copyright protection as it pertains to

the rights of third parties is demonstrated by the following language that appeared on BuzzFeed’s

“Community” page at all relevant times:

                   Please remember to respect other creators’ intellectual property
                   rights; you may post only content that you have either created
                   yourself or have gotten permission to run. And always make sure
                   to provide proper credit to the creator. You can find some helpful
                   resources here!

       39.     Despite this awareness, BuzzFeed acted with at least reckless disregard for, or

willful blindness to, MGP’s rights under the Copyright laws. On information and belief,

BuzzFeed did not pay a license fee, inquire as to the availability of a license, do any work to

confirm that the Infringed Images were authorized to be copied and displayed, or clear the

Infringed Images for use on buzzfeed.com.

D.     BuzzFeed’s Control Over Third-Party-Generated Content

       40.     At all relevant times, BuzzFeed had the right to, and did in fact, control content

posted by users on its “Community” page.

       41.     At all relevant times, BuzzFeed described the BuzzFeed Community as the “home

for awesome posts created by BuzzFeeders who have successfully been promoted by our team of

editors.” According to BuzzFeed’s Community “About” page, community members were

encouraged to produce posts that they thought would do well on BuzzFeed and click “Suggest”

to suggest the post to BuzzFeed’s Community editors. BuzzFeed stated, “[i]f the post you

suggest is good or fun or original or interesting …, our editors will feature it on the Buzzfeed

Community page.”

       42.     BuzzFeed also encouraged users to create content for the Community page by

offering rewards that gave users additional privileges. At all relevant times, the Community

“About” page stated:


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                    When you first sign up for BuzzFeed, you will have one
                    opportunity to suggest a post each day. After your first post is
                    accepted, your Cat Power will go from 0 to 1, and over time, as
                    more of yours posts are accepted, your CatPower will increase,
                    giving you more opportunities to suggest posts.

       43.     On information and belief, BuzzFeed’s Community editors would promote user

content that was “good or fun or original or interesting” based in part on the visual appeal of the

post, including any images that were included in the post.

       44.     BuzzFeed knew that content created by Community members could contain

material that infringed intellectual property rights of others. At all relevant times, the “About”

page also stated:

                    Please remember to respect other creators’ intellectual property
                    rights; you may post only content that you have either created
                    yourself or have gotten permission to run.

       45.     Despite this knowledge, and despite monitoring, reviewing, and approving user-

generated content for the Community page, BuzzFeed editors made no effort to verify or clear

the images that were featured in the articles that they promoted to the Community page,

including the Infringed Images.

                                             COUNT I

                                     Copyright Infringement

       46.     Plaintiff realleges and incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if fully set forth here.

       47.     The foregoing acts of BuzzFeed constitute infringement of plaintiff’s copyrights

in the Infringed Images in violation of 17 U.S.C. §§ 501 et seq.

       48.     Plaintiff has suffered damages as a result of defendant’s unauthorized use of the

Infringed Images.




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        49.     On information and belief, BuzzFeed knew that the acts alleged above infringed

plaintiff’s copyrights, or it acted with reckless disregard for, or willful blindness to, plaintiff’s

rights under the Copyright laws. Accordingly, defendant’s acts of copyright infringement, as

alleged above, are willful, which further subjects defendant to liability for statutory damages

under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000 per work infringed.

Within the time permitted by law, plaintiff will make its election between actual damages and

statutory damages.

                                           COUNT TWO

                     Vicarious and/or Contributory Copyright Infringement

        50.     Plaintiff realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth here.

        51.     Plaintiff is information and believes and on that basis alleges that defendant

knowingly induced, participated in, aided and abetted in, and profited from the unauthorized

reproduction and/or subsequent distribution of the Infringed Images.

        52.     Defendant is vicariously liable for the infringement alleged above because, on

information and belief, they had the right and ability to supervise the infringing conduct, and did

in fact exercise that right, and because they had a direct financial interest in the infringing

conduct.

        53.     By reason of defendant’s acts of contributory and vicarious infringement as

alleged above, plaintiff has suffered and will continue to suffer substantial damages to its

business

        54.     On information and belief, BuzzFeed knew that the acts alleged above infringed

plaintiff’s copyrights, or it acted with reckless disregard for, or willful blindness to, plaintiff’s




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rights under the Copyright laws. Accordingly, defendant’s acts of copyright infringement, as

alleged above, are willful, which further subjects defendant to liability for statutory damages

under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000 per work infringed.

Within the time permitted by law, plaintiff will make its election between actual damages and

statutory damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff demands judgment against defendant as follows:

       A.      For a preliminary and permanent injunction against defendant and anyone

working in concert with them from further copying, displaying, distributing, selling, or offering

to sell plaintiff’s photographs described in the Complaint;

       B.      For an order requiring defendants to account to plaintiff for their profits and any

damages sustained by plaintiff arising from the acts of infringement;

       C.      As permitted under 17 U.S.C. § 503, for impoundment of all copies of the

photographs used in violation of plaintiff’s copyrights—including digital copies or any other

means by which they could be used again by defendants without plaintiff’s authorization—as

well as all related records and documents.

       E.      For actual damages and all profits derived from the unauthorized use of plaintiff’s

photographs or, where applicable and at plaintiff’s election, statutory damages.

       F.      For an award of pre-judgment interest as allowed by law;

       G.      For reasonable attorney fees.

       H.      For court costs, expert witness fees, and all other amounts authorized under law.

       I.      For such other and further relief as the Court deems just and proper.




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                                       JURY DEMAND

      Plaintiff demands trial by jury of all issues permitted by law.



Dated: March 13, 2018                         PERKOWSKI LEGAL, PC

                                              By:     /s/ Peter Perkowski          d
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                                              Counsel for Plaintiff




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